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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                               :       CASE NO. 09-61855-BEM
                                                      :
 TODD ANTHONY SHAW,                                   :        CHAPTER 7
                                                      :
          Debtor.                                     :

       SECOND APPLICATION OF TRUSTEE FOR INTERIM COMPENSATION
                   AND REIMBURSEMENT OF EXPENSES

          COMES NOW S. Gregory Hays, Chapter 7 Trustee for Todd Anthony Shaw (“Applicant”

 or “Trustee”), and respectfully represents:

                                               1.

          Applicant is the duly authorized and acting Chapter 7 Trustee for the bankruptcy estate

 (collectively, the “Bankruptcy Estate”) of Debtor.

                                               2.

          In the administration of said Bankruptcy Estate, Applicant has rendered those services

 required as Trustee since January 26, 2009, and makes this Second Application of Trustee for

 Interim Compensation and Reimbursement of Expenses (“Second Application”) for the period of

 through and including October 31, 2020 (“Application Period”).

                                               3.

          Applicant has not in any form or guise agreed to share the compensation for such services

 with any person not contributing thereto, or to share in the compensation of any person rendering

 services in this proceeding to which services Applicant has not contributed. Applicant has not

 entered into any agreement, written or oral, express or implied, with any other party in interest or

 any attorney of any other party in interest in this proceeding for the purpose of fixing the amount
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 of the fees or other compensation to be paid to any party in interest, or any attorney or any party

 in interest herein for services rendered in connection therewith.

                                               4.

         The Trustee is currently holding $543,964.22 in the Bankruptcy Estate’s bank account.

 The estate funds resulted from a November 24, 2009 stipulation between the Trustee and Zomba

 Recordings LLC (“Zomba”) [Doc. No. 62] to split the continuing music royalties (“Royalties”)

 owed to the Debtor with 20% being paid to the Bankruptcy Estate and 80% being paid to Zomba

 until Zomba's secured claim is satisfied. Due to the 2016 sampling of a Bankruptcy Estate

 composition resulting in a considerable increase in Royalties, the Zomba loan was satisfied in early

 2019.

                                               5.

         To date, Trustee has recovered a total of $968,665.41 from the Bankruptcy Estate’s share

 of the Royalties and has paid administrative expenses totaling $312,588.00 relating to costs

 associated with the maintenance and insurance on the Debtor’s primary residence while listed for

 sale by the Trustee, bank and technology fees, professional fees and federal and state income taxes

 on royalty income.

                                               6.

         On November 13, 2019, the Trustee filed his Motion for Authority to Make Interim

 Distribution [Doc. No. 171] which was approved on December 19, 2019 [Doc. No. 176]. The

 Trustee paid a 100% distribution to allowed secured claimants, a 100% distribution to allowed

 priority claimants and a 3% distribution to timely filed, allowed, general unsecured claimants.
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                                               7.

        Because of the additional time required to close the bankruptcy case, contemporaneously

 with the filing of this Application, Trustee has filed a second Motion for Authority to Make Interim

 Distribution, which proposes a 31% distribution to timely filed, allowed, general unsecured

 claimants. All claim issues have been resolved and appropriate reserves have been made for fees

 and expenses associated with the final administration of the bankruptcy case.

                                               8.

        The remaining assets for administration are the semi-annual royalty payments and the

 Bankruptcy Estate’s interest in the underlying compositions. Now that the Zomba loan is paid in

 the full, the Trustee intends to locate a purchaser for the interest in the compositions and future

 royalty payments.

                                               9.

        The recent increase in Royalties has created additional taxable income to the Bankruptcy

 Estate. The Trustee and other professionals are filing interim fee applications to offset some of the

 additional royalty income in year 2020, which will reduce the Bankruptcy Estate’s tax liability.

                                               10.

        The statutory allowance pursuant to 11 U.S.C. §326 based on the entire pendency of this

 case is $47,883.27 comprised of $424,701.19 in distributions to date plus proposed distributions

 of $467,964.22 pending before this Court. The reasonable value of the services rendered by

 Applicant in these proceedings under Chapter 7 for the Application Period is $47,883.27 as

 calculated on Exhibit “A.”
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                                               11.

        By Order entered on December 19, 2019 [Doc. No. 176], Applicant was awarded interim

 compensation of $21,070.18 and expenses of $1,485.51 for a total allowance of $22,555.69 on his

 first application. This is Applicant’s second interim application.

                                                 12.

        The statutory allowance pursuant to 11 U.S.C. §326 based on the entire pendency of this

 case is $47,883.27. The Trustee has been paid $21,070.18 to date leaving a balance of $26,813.09.

                                               13.

        This Application is filed pursuant to §330 and §331 of the U.S. Bankruptcy Code.

 Applicant shows that the interim compensation requested by Applicant satisfies the standards and

 guidelines set forth in Johnson v. Georgia Highway Express, 488 F.2d 714 (U.S.C.A. 5th 1974),

 and In Re First Colonial Corporation, 544 F.2d 1291 (U.S.C.A. 5th 1977), as amplified by Norman

 v. Housing Authority of City of Montgomery, 836 F.2d 1292 (11th Cir. 1988). Trustee shows that

 pursuant to 11 U.S.C. §326, Trustee is entitled to $47,883.27, as Trustee commission based on

 distributions to date and proposed distribution of $892,665.41 of non-exempt funds.

                                               14.

        Applicant has incurred actual and necessary costs and expenses properly paid in his own

 funds, in the amount of $133.54, which are chargeable to the Bankruptcy Estate, none of which

 have been repaid, and for which the Trustee requests reimbursement. A list of said expenses,

 which primarily relate to utility bills and insurance premiums paid while the Trustee was marketing

 the Debtor’s real property, is attached hereto as Exhibit “B”.

        WHEREFORE, Trustee respectfully requests this Court to enter an order:
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        (a)     Allowing Applicant additional interim compensation in the amount of $26,813.09

 for services rendered by the Trustee;

        (b)     Allowing Applicant the sum of $133.54 for the reimbursement of actual and

 necessary out-of-pocket expenses incurred in this bankruptcy case during the Application Period;

        (c)     Authorizing the Trustee to pay Applicant the allowed compensation and expenses,

 totaling $26,946.63, from Trustee’s fiduciary account for this Bankruptcy Case; and

        (d)     Granting Applicant such other and further relief as may be just and proper.

        Respectfully submitted this 9th day of November 2020.

                                                        /s/ S. Gregory Hays
                                                     S. Gregory Hays
 Hays Financial Consulting, LLC                      Chapter 7 Trustee
 2964 Peachtree Rd, NW, Ste 555
 Atlanta, Georgia 30305
 (404) 926-0060
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                                         Exhibit "A"

                                   Trustee Compensation


Total Recoveries                                                     $968,665.41
Distributions to Date                                                $424,701.19
Cash in Bank (11/2/20)                                               $543,964.22

Proposed Payments Pending Before Court
       Professional Fee Applications                                  $39,297.63   100%
       Unsecured Claims                                              $428,666.59   31%
Total Proposed Distributions                                         $467,964.22

Funds Remaining in Bankruptcy Estate after Proposed Distributions     $76,000.00

Distributions to Date Plus Proposed Interim Distributions            $892,665.41

Pursuant to 11 U.S.C. 326, compensation is computed as follows:
      25% of First $5,000                                $5,000.00     $1,250.00
      10% of Next $45,000                              $45,000.00      $4,500.00
      5% of Next $950,000                             $842,665.41     $42,133.27
      3% of Balance                                          $0.00         $0.00

Total Compensation Requested:                         $892,665.41     $47,883.27
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                                Hays Financial Consulting, LLC
                                       2964 Peachtree Road
                                             Suite 555
                                      Atlanta, GA 30305-2153

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                                For the Period from   10/1/2019 to 9/30/2020
  November 2, 2020


                                                                                   Amount

              Expenses

    1/9/2020 2020 Bond fee                                                           133.54

                     Subtotal                                                        133.54

              Total costs                                                           $133.54
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                                 CERTIFICATE OF SERVICE
        This is to certify that I caused to be served the foregoing Second Application of Trustee for

 Interim Compensation and Reimbursement of Expenses by causing a copy of same to be deposited

 in the United States Mail in a properly addressed envelope with adequate postage affixed thereon

 to assure delivery to:

 Office of the U.S. Trustee
 362 Richard B. Russell Federal Building
 75 Ted Turner Drive SW
 Atlanta, GA 30303

 Todd Anthony Shaw
 1010 Forest Overlook Drive
 Atlanta, GA 30331

 Montie Day
 Day Law Offices
 P.O. Box 1525
 Williams, CA 95987


        This 9th day of November, 2020.


                                                      /s/ S. Gregory Hays
                                                      S. Gregory Hays
                                                      Chapter 7 Trustee
